

Matter of Attorneys in Violation of Judiciary Law § 468-a (Couttenye) (2022 NY Slip Op 02480)





Matter of Attorneys in Violation of Judiciary Law § 468-a (Couttenye)


2022 NY Slip Op 02480


Decided on April 14, 2022


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:April 14, 2022

PM-79-22
[*1]In the Matter of Attorneys in Violation of Judiciary Law § 468-a. Attorney Grievance Committee for the Third Judicial Department, Petitioner; Andrea Carolina Couttenye, Respondent. (Attorney Registration No. 4086575.)

Calendar Date:April 4, 2022

Before:Egan Jr., J.P., Lynch, Aarons, Colangelo and Fisher, JJ. 

Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.
Andrea Carolina Couttenye, Springfield, Virginia, respondent pro se.



Motion by respondent for an order reinstating her to the practice of law following her suspension by October 2021 order of this Court (Matter of Attorneys in Violation of Judiciary Law § 468-a, 198 AD3d 1068, 1073 [2021]; see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.16; Rules of App Div, 3d Dept [22 NYCRR] § 806.16).[FN1]
Upon reading respondent's notice of motion and affidavit with exhibits sworn to February 22, 2022, and the March 21, 2022 responsive correspondence from the Attorney Grievance Committee for the Third Judicial Department, and having determined, by clear and convincing evidence, that (1) respondent has complied with the order of suspension and the Rules of this Court, (2) respondent has the requisite character and fitness to practice law, and (3) it would be in the public interest to reinstate respondent to the practice of law (see Matter of Attorneys in Violation of Judiciary Law § 468-a [Holtz], 185 AD3d 1277, 1278 [2020]), it is
ORDERED that respondent's motion for reinstatement is granted; and it is further
ORDERED that respondent is reinstated as an attorney and counselor-at-law, effectively immediately.
Egan Jr., J.P., Lynch, Aarons, Colangelo and Fisher, JJ., concur.



Footnotes

Footnote 1: The record before this Court is silent as to respondent's admission to practice in her home jurisdiction or her compliance with Virginia law pertaining to the registration of corporate counsel (see Rules of the Sup Ct of Va, rule 1A:5).






